        Case 2:20-cr-01217 Document 65 Filed on 08/13/21 in TXSD Page 1 of 7




                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN TEXAS DIVISION

   UNITED STATES OF AMERICA                               §
                                                          §
   V.                                                     §                      CAUSE NO
                                                          §                     2:20-cr-01217-1
   SOFIA TIJERINA                                         §


     DEFENDANT SOFIA TIJERINA’S OBJECTIONS TO THE GOVERNMENT’S
                         PROPOSED EXHIBITS


                                                  I.


         Defendant, by counsel, pursuant to this Court’s scheduling orders and the Local Rules of

the United States District Court for the Southern District of Texas, submits the following

objections to the Government’s Exhibit List. Defendant reserves the right to amend or modify any

of the objections set forth below on the basis of any stipulation entered into by the parties;

corrections, revisions or other modifications to the underlying exhibits; any order from the Court

on outstanding motions; and any ruling from the Court impacting admissibility.

         Defendant objects to the introduction of exhibits that are not properly authenticated but is

willing to confer with the Government regarding means to resolve authenticity objections in

advance of trial. However, even in instances where a stipulation as to authenticity may be reached,

and unless otherwise noted, Defendants reserve all other objections to admissibility including, but

not limited to, objections based on lack of foundation, hearsay and relevance.

         Defendant objects to the following Government exhibits:
    Case 2:20-cr-01217 Document 65 Filed on 08/13/21 in TXSD Page 2 of 7




                                               II.

                      OBJECTIONS TO PROPOSED EXHIBITS

EXHIBIT NO. 6:

     a. FRE 401. Defendant objects to introduction of the Red I-phone into evidence pursuant

        to FRE 401 as it is not relevant. Introducing the phone does not have a tendency to

        make a fact more or less probable than it would be without the evidence and it is not a

        fact of consequence in determining the action.

     b. FRE 403. Alternatively, Defendant objects pursuant to FRE 403 as any probative value

        of the introduction of the phone will be substantially outweighed by a danger of unfair

        prejudice, confusing the issues, and/or misleading the jury. Allowing a jury unrestricted

        access to the phone contents without guiding evidentiary principles poses a substantial

        danger of unfair prejudice to Defendant including the unrestricted introduction of

        irrelevant evidence, unfairly prejudicial evidence, and hearsay. This unfair prejudice

        would be particularly egregious as the contents of the phone have not been extracted

        and provided to Defendant’s counsel, depriving him of an opportunity to make any

        necessary legal objections to its content in order to provide the Defendant with her

        constitutional right to effective assistance of counsel and a to a fair trial.

EXHIBIT NO. 7:

     a. FRE 401. Defendant objects to introduction of the Blue Pantech Phone into evidence

        pursuant to FRE 401 as it is not relevant. Introducing the phone does not have a

        tendency to make a fact more or less probable than it would be without the evidence

        and it is not a fact of consequence in determining the action. This is accentuated by the
    Case 2:20-cr-01217 Document 65 Filed on 08/13/21 in TXSD Page 3 of 7




        fact that the phone has no service nor has it had any service for an extended period of

        time.

     b. FRE 403. Alternatively, Defendant objects pursuant to FRE 403 as any probative value

        of the introduction of the phone will be substantially outweighed by a danger of unfair

        prejudice and/or misleading the jury. Depicting the Defendant “as a person from the

        RGV that carries 3 cell phones” under these circumstances creates a substantial risk of

        unfair prejudice, particularly as this cell phone is inoperable and is simply an old phone

        to be used as a prop for a social media video.

EXHIBIT NO. 8:

     a. FRE 401. Defendant objects to introduction of the White I-phone into evidence

        pursuant to FRE 401 as it does not have a tendency to make a fact more or less probable

        than it would be without the evidence and it is not a fact of consequence in determining

        the action.

     b. FRE 403. Alternatively, Defendant objects pursuant to FRE 403 as any probative value

        of the introduction of the phone will be substantially outweighed by a danger of unfair

        prejudice, confusing the issues, and/or misleading the jury.           Allowing a jury

        unrestricted access to the phone contents without guiding evidentiary principles poses

        a substantial danger of unfair prejudice to Defendant including the unrestricted

        introduction of irrelevant evidence, unfairly prejudicial evidence, and hearsay.

EXHIBIT NO. 9:

     a. FRE 401. Defendant objects to the introduction of the “Warning as to Rights –

        Interview Log” pursuant to FRE 401 as this evidence does not have a tendency to make
    Case 2:20-cr-01217 Document 65 Filed on 08/13/21 in TXSD Page 4 of 7




        a fact more or less probable than it would be without the evidence and it is not a fact of

        consequence in determining the action.

     b. FRE 403. Alternatively, Defendant objects pursuant to FRE 403 as any probative value

        of the introduction of this exhibit will be substantially outweighed by a danger of unfair

        prejudice and/or misleading the jury. Emphasizing to a jury that the Defendant

        exercised her constitutionally protected 5th Amendment “right to remain silent” unfairly

        prejudices Defendant by providing an inference that she “must have had something to

        hide or she would have freely spoken to the officers to clear her name.”

EXHIBIT NO. 13:

     a. FRE 801. Defendant objects to the introduction of the Video Deposition of witness

        Plutarco Gonzalez-Reyes as it is the hearsay pursuant to FRE 801.

     b. FRE 804. Defendant further objects to the introduction of the deposition, and

        Defendant being deprived of her Constitutional 6th Amendment “right to confrontation

        of the witness”, without the government discharging its burden of establishing the

        “unavailability” standard of FRE 804(a)(5)(A) or any other hearsay exception.

EXHIBIT NO. 14:

     a. FRE 801. Defendant objects to the introduction of the Video Deposition of witness

        Jesus Utrera-Abertano as it is the hearsay pursuant to FRE 801.

     b. FRE 804. Defendant further objects to the introduction of the deposition, and

        Defendant being deprived of her Constitutional 6th Amendment “right to confrontation

        of the witness”, without the government discharging its burden of establishing the

        “unavailability” standard of FRE 804(a)(5)(A) or any other hearsay exception.
     Case 2:20-cr-01217 Document 65 Filed on 08/13/21 in TXSD Page 5 of 7




EXHIBIT NO. 15:

Pages 1 through 627

         a. FRE 401. Defendant objects to the introduction of pages 1 through 627 of the PDF

             of Phone Extraction Report into evidence pursuant to FRE 401 as the

             data/communications/photos do not have a tendency to make a fact more or less

             probable than it would be without the evidence and it is not a fact of consequence

             in determining the action. Pages 1 through 627 contain a wide variety of completely

             irrelevant conversations and communications of a young girl with friends, boys,

             and other senseless, sometimes vulgar and otherwise potentially offensive

             communications that have no bearing whatsoever to the issues before this court.

         b. FRE 403. Alternatively, Defendant objects to the introduction of pages 1 through

             627 of the PDF of Phone Extraction Report into evidence pursuant to FRE 403 as

             any probative value of the introduction of the data/communications/photos will be

             substantially outweighed by a danger of unfair prejudice, confusing the issues,

             and/or misleading the jury. Allowing a jury to view this irrelevant “character”

             information poses a substantial danger of unfair prejudice to Defendant including

             the unrestricted introduction of irrelevant evidence, unfairly prejudicial evidence,

             and hearsay.

Search Queries 121 and 122 on Page 632

      a. FRE 403. Defendant objects, pursuant to FRE 403, to Search Queries 121 and 122 on

         page 632 of the PDF Extraction. These queries are multiple re-prints of one search

         query. The duplicate reprints are copies of the exact same search listed on page search
     Case 2:20-cr-01217 Document 65 Filed on 08/13/21 in TXSD Page 6 of 7




         item 120 of page 632. Any probative value of the introduction of the duplicate search

         results are substantially outweighed by a risk of unfair prejudice and/or misleading of

         the jury. Allowing a jury to view these duplicate search results within the raw data of

         the PDF of Phone Extraction poses a substantial danger of unfair prejudice to

         Defendant as the jury may be confused and believe that the Defendant has made

         numerous searches of what is a duplicate result of raw data when the inquiry was only

         made once.

Items 122 and 123 on Page 662

      a. FRE 403. Defendant objects, pursuant to FRE 403, to Items 122 and 123 on page 662

         of the PDF Extraction. These items are multiple URL results of one search query. The

         duplicate reprints are copies of the exact same search listed on page search item 120 of

         page 632. Any probative value of the introduction of the duplicate items is substantially

         outweighed by a risk of unfair prejudice and/or misleading of the jury. Allowing a jury

         to view these duplicate items within the raw data of the PDF of Phone Extraction poses

         a substantial danger of unfair prejudice to Defendant as the jury may be confused and

         believe that the Defendant has made numerous searches of what is a duplicate URL

         result of raw data when the inquiry was only made once.

Statements Made by Third Parties

      a. FRE 801. Defendant further objects to the introduction of each hearsay statement made

         by a third party in communicating with Defendant within pages 1 through 627 of this

         PDF of Phone Extraction Report as it is hearsay pursuant to FRE 801 and the

         government has not established that it falls within any hearsay exception.
      Case 2:20-cr-01217 Document 65 Filed on 08/13/21 in TXSD Page 7 of 7




       WHEREFORE, Defendant requests that this Honorable Court sustain her objections set

forth above.

                                             Respectfully submitted,

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                                             By:

                                             JESUS VILLALOBOS
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                                             Attorney for SOFIA TIJERINA



                                CERTIFICATE OF SERVICE

       I, Jesus Villalobos, Attorney for the Defendant certify that a copy of this motion has been

provided to all counsel of record on this 13th day of AUGUST, 2021 by electronic filing.




                                             JESUS VILLALOBOS
